  Case 4:22-cv-00073-O Document 20 Filed 11/07/22                Page 1 of 19 PageID 325



                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                             (FORT WORTH DIVISION)


ROI DEVELOPERS, INC.,              §
d/b/a ACCRUVIA                     §
                                   §
VS.                                §                                      Case No. 4:22-cv-73-O
                                   §
ATHENA BITCOIN, INC., d/b/a ATHENA §
BITCOIN GLOBAL                     §


AMENDED APPENDIX TO DEFENDANT’S REPLY TO PLAINTIFF’S RESPONSE TO
          DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
                     AND BRIEF IN SUPPORT

       This Amended Appendix to Defendant’s Reply to Plaintiff’s Response to Defendant’s

Motion for Summary Judgment and Brief in Support contains the following evidence in support of

the Defendant’s Motion that is attached hereto and fully incorporated herein by reference thereto:

               a.     Exhibit 1: Deposition excerpts of Accruvia’s corporate representative,
                      Shaun Overton’s oral deposition taken on August 16, 2022 in this case;

               b.     Exhibit 2: Doe v. Dallas Independent School District, 220 F.3d 380 (5th Cir.
                      2000)



                                             Respectfully submitted,


                                             ___/s/ Larry L. Fowler, Jr.__________________
                                             LARRY L. FOWLER, JR.
                                             State Bar No. 07321900

                                             HARRIS    *   COOK, L.L.P.
                                             1309-A West Abram
                                             Arlington, Texas 76013
                                             817/299-2841 – Telephone
                                             817/460-8060 – Facsimile
                                             Email: Larry@HarrisCookLaw.com
                                             ATTORNEYS FOR DEFENDANT ATHENA BITCOIN, INC.



AMENDED APPENDIX                                                                          PAGE 1
  Case 4:22-cv-00073-O Document 20 Filed 11/07/22              Page 2 of 19 PageID 326




                               CERTIFICATE OF SERVICE

       I hereby certify that on November 7, 2022, a true and correct copy of the above and

foregoing document has been served on all counsel of record listed below via email through the

PACER system.

Kelly Stewart
K Stewart Law, P.C.
5949 Sherry Lane, Suite 900
Dallas, TX 75225
kelly@kstewartlaw.com
Attorney for Plaintiff


                                           /s/ Larry L. Fowler, Jr.
                                           LARRY L. FOWLER, JR.




AMENDED APPENDIX                                                                      PAGE 2
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                          In
                          ln the Matter
                                 l\Iatter Of:
                   ROI DEVELOPERS, INC.
                                   INC.
                                     VS

                    ATHENA BITCOIN, INC.
                                    INC.




                           Shaun Overton
                                 16,2022
                          August 16, 2022




                                                                            U

                                                  GPS
                                                   CC]LICH ER PARKER
                                                   GOLICHER   OARKE R SPIVEY
                                                                            _J

                                                                      SPI\iEY


                             EXHIBIT 1
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Shaun Overton
       16,2022
August 16, 2022

                   UNITED STATES
                   UNITED        DISTRICT COURT
                          STATES DISTRICT
                                DISTRICT OF
                       NORTHERN DISTRICT
                       NORTHERN          OF TEXAS
                                            TEXAS

                           FORT WORTH
                           FORT       DIVISION
                                WORTH DIVISION


 ROI DEVELOPERS,
 ROI             INC. ,
     DEVELOPERS, INC.,                 §S

 d/b/ a ACCRUVIA,
 d/b/a  ACCRUVIA,                      §s

        Plainti ff,
        Plaintiff,                     §S

                  v.
                  v.                        Civil Action
                                       §S Civil Action No.
                                                       No.
        BITCOIN, INC.,
 ATHENA BITCOIN,
 ATHENA          INC. ,                §S 4:22-cv-00073-0
                                          4:22-cv-00073-O
        Defendant.
        Defendant.                     §s




                       Deposition of SHAUN
                       Deposition of SHAUN OVERTON


               vi,a GPS
               via      vTestify Videoconference
                    GPS vTestify Videoconference


                                August 16, 2022
                       Tuesday, August
                       Tuesday,            202276,
                                   9:07 a.m.
                                   9:07 a.m.


                  Reported stenographically by:
                  Reported stenographically by:
        D. Miller,
   Adam D.
   Adam    Miller, Registered Profess j-onal Reporter
                   Registered Professional   Reporter




GPS:
GPS       U
          _I
          _J                        GPS LLC
                                         LLC
                        gpscalendar@gps.llc -- 214.347.4781
                        gpscalendar@gps.lic    21 4.347.478'l


                                    EXHIBIT 1
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        Shaun Overton
        August'16,2022
        August 16, 2022
                                                                           Page
                                                                           Page 64
  11              A.
                  A.          reason II believe
                          The reason
                          The           believe that's
                                                that's wrong is
                                                       wrong is
  2
  2       that the one
          that the one that paid my
                       that paid    bill, the
                                 my bill,     very first
                                          the very first
  3
  3       bill, was
          bill, was Athena Bitcoin, Inc.
                    Athena Bitcoin, Inc.
  4
  4               O.
                  Q.      Okay. I'm not
                          Okay. I'm not --
                                        -- what Irm asking
                                           what I'm asking you
                                                           you
  5
  5       right now
          right     is:
                now is:       As of October
                              As of         4th, okay,
                                    October 4th, okay, as
                                                       as of
                                                          of
  6
  6               Atin, 2021,
          October 4th,
          October                 hadn't received
                              you hadn't
                        2027, you        received any
                                                  any
  7
  1       payment from anybody
          payment from         on --
                       anybody on    from Athena;
                                  -- from Athena; correct?
                                                  correct?
  8
  8               A.
                  A.      Correct,
                          Correct.

  9
  9               O.
                  Q.      Okay. As
                          Okay.    of October
                                As of         4th, 2021,
                                      October 4th,        did
                                                   2021 , did
10
10        you         your agreement
              believe your
          you believe                    with the
                                     was with
                           agreement was      the same
                                                  same
11
11        person or entity
          person or entity that
                           that you
                                you entered lnto the
                                    entered into the term
                                                     term
T2
12        sheet with?
          sheet with?
13
13               A. Yes.
                  A.   yes.

I4
14               O. And
                 Q.         that's who
                       And that's   who you  believe you
                                         you believe   you were
                                                            were
15
15       going to
         going       provide services
                 to provide   services to,
                                         to, and  that's what
                                             and that's    what
t6
16       you believed
         you   belj-eved was  going to
                         was going           you; correct?
                                         pay you;
                                     to pay        correct?
17
17               A. II said
                 A.      said earlier
                               earl-ier that
                                         that II wasn't
                                                 wasn't focused
                                                         focused
18
18       on  it because,
         on it   because, toto me,  all II cared
                               me, all     cared about
                                                  about was    the
                                                         was the
19
19              outfay. So
         cash outlay.
         cash             So II had  put no
                                 had put  no thought   into which
                                             thought into     which
20
20       entity was
         entity        paying me.
                   was paying  me.
2L
21               Q.    Okay. So
                 O. Okay.          then, as
                               So then,   as of
                                             of October
                                                 October ----
22
22       we11. If guess
         well,      guess back
                          back toto my question: As
                                    my question:        of
                                                    As of
) '),
23       October    4th. you
         October 4th,              siqned aa term
                              had signed
                         you had             term sheet;
                                                   sheet;
24
24        correct ?
          correct?

25                A.
                  A.      Yes, that's
                          Yes, that's true.
                                      true.

        GPS:
        GPS       0
                  _1
                                        GPS LLC
                                             LLC
                            gpscalendar@gps.llc -- 214.347.4781
                            gpscalendar@gps.IIc    21 4.347.47 81


                                      EXHIBIT 1
       Case 4:22-cv-00073-O Document 20 Filed 11/07/22       Page 6 of 19 PageID 330

      Shaun Overton
      AeguEhttvaQaa
      Astinatitsvaitaa
       August 16, 2022
                                                                          Page
                                                                          Page 65
 1
 1              O.
                Q.       Okay. And
                         Okay.     you told
                               And you tofd me
                                            me aa moment
                                                  moment ago
                                                         ago
 2
 2      that that
        that that was the same
                  was the      entity you
                          same entity you were
                                          were
 3
 3      contracting with
        contracting with to provide the
                         to provide the services
                                        services for
                                                 for the
                                                     the
 4
 4      Chivo project.
        Chivo project.           Do you
                                 Do you remember tellinq me
                                        remember telling    that?
                                                         me that?
 5
 5              A.
                A.       I do.
                         I do.
 6
 6              O.
                Q.       Okay. So
                         Okay.    then, at
                               So then,    least as
                                        at least as of
                                                    of
 7
 1              4th, isn't
        October 4th,
        October      isn't it
                           it true
                              true that
                                   that you believed the
                                        you believed the
 8
 8      entity that you
        entlty that you were providj-ng services
                        were providing  services to
                                                 to and
                                                    and
 9
 9      that you
        that you were qoinq to
                 were going    get paid
                            to get paid by
                                        by was the same
                                           was the same
10
10      entity that
        entity that you
                    you entered into the
                        entered into the term
                                         term sheet
                                              sheet
11
11      with?
        with?

12
1,2             A.
                A.       No.
                         No.         blunt truth
                                 The blunt
                                 The       truth is
                                                 is that
                                                    that II did
                                                            dld
13
13      not have
        not have any
                 any concern whatsoever. II had
                     concern whatsoever.        put no
                                            had put
74
14      thought into which
        thought into       entity was
                     which entity     going to
                                  was going    pay me.
                                            to pay me.
15
15      My only
        My      motivation and
           only motivation     concern was
                           and concern     getting paid
                                       was getting paid
t6
16     in aa timely
       in    timely manner.
                    manner.
L'l
17              O.
                Q.       Okay. So
                         Okay. So then, if the
                                  then, if the folks
                                               fol-ks at
                                                      at
18
1B             Bitcoin Global,
        Athena Bitcoin
        Athena         Global, Inc.
                               Inc. say that as
                                    say that as of
                                                of
19
19      October 4th,
        October Athr, 2021,  it was
                      2021 , it     the belief
                                was the belief of
                                               of Athena
                                                  Athena
20
20      Bitcoin Global
        Bitcoin Global that
                       that it
                            i-t entered into this
                                entered into this
21
21      agreement with ROI
        agreement with     where ROI
                       ROI where         going to
                                     was going
                                 ROI was       to
22
22      provide the
        provide the services
                    services for
                             for the
                                 the Chivo project, you
                                     Chivo project, you
ZJ
23      wouldn't be
        wouldn't    able to
                 be able    contradict that
                         Lo contradict that testimony,
                                            testimony,
24
24      would you?
        would you?
25
25                       ATTORNEY STEWART:
                         ATTORNEY          Oblect to
                                  STEWART: Object Lo form.
                                                     form.

      GPS:                             GPS LLC
                U
      GPS                                   LLC
                            gpscalendar@!6.alEe 214.347.4781
                            gpscalendar@Zes.flte  214.347.4781
                           gpscalendar@gps.llc -- 214.347.4781
                           gpscalendar@gps.IIc    21 4.347.47 81


                                       EXHIBIT 1
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      Shaun Overton
      Asoush105vAna
      AB0EehlcvAQaa
       August 16, 2022
                                                                           Page
                                                                           Page 66
 1
 1                           WITNESS: If don't
                         THE WITNESS:
                         THE             don't have
                                               have -- like II
                                                    -- like
 2
 2              said, II didn't
                said,           put any
                         didn't put any thought lnto which
                                        thought into which
 3
 3              entity would
                entity       pay me.
                       would pay me.
 4
 4      BY ATTORNEY
        BY ATTORNEY FOWLER:
                    POWLER:

 5
 5              a.
                Q.       Okay. All
                         Okay.     right.
                               A11 right.              as of
                                                   And as
                                                   And    of
 6
 6     October 4Lh, 2021,
       October 4th,       telI me
                    202L, tell         type of
                                  what type
                               me what      of services
                                               services
 7
 1      you thought
        you thought ROI
                    ROI was going to
                        was going to be providing --
                                     be providing --
 8
 B            me. Poor
       excuse me.
       excuse          question.
                  Poor question.
 9
 9                          of October
                         As of
                         As            4Lh, 2021,
                               October 4th,       you did
                                            2021, you did
10
10      understand that ROI
        understand that         going to
                            was going
                        ROI was       to be providing
                                         be providing
11
11     services reLated to
       services related to the
                           the Chivo project; correct?
                               Chivo project; correct?
t2
12              A.
                A.       Absolutely.
                         Absolutely.

13
13              O.
                Q.       But as
                         But    far as
                             as far          entity you
                                       which entity
                                    as which        you might
                                                        might
14
14     have been
       have      provided them
            been provided them to, you're telling
                               to, you're telling us
                                                  us
15
15          that you
        now that
        now          didn't really
                 you didn't         give it
                            real-ly give it much thought;
                                            much thought;
16
16     correct?
       correct?

t1
17              A.
                A.       Correct.
                         Correct.

1B
18              a.
                Q.       AII right.
                         All right.      As of October
                                         As of October 4th,
                                                       ALhrt 2021,
                                                             2021 ,
19
19           there any
        were there
        were           services that
                   any services that that
                                     that ROI
                                          ROI was going
                                              was going
20
20     to be
       to    delivering to
          be delivering to any of the
                           any of the Athena entities
                                      Athena entities
21
21,    for the
       for the Chivo project that
               Chivo project that were going to
                                  were going to relate
                                                relate
22
22     to the
       to the State
              State of
                    of Texas?
                       Texas?
23
23              A.
                A.       Say that again.
                         Say that again.
24
24              O.
                Q.       The services ROI
                         The services ROI was going to
                                          was going to
25
25     provide, okay,
       provide, okay, as of October
                      as of         4th --
                            October 4th            it.
                                           whoever it
                                        -- whoever
                                        GPS LLC
      GPS:
                U
      GPS       _1
                _1
                                            LLC
                            gpscalendar@Fo .|dEe 214.347.4781
                            gpscalendarggits.fite 21 4.347.47 81
                           gpscalendar@gps.llc -- 214.347.4781
                           gpscalendar@gps.IIc    21 4.347.4781


                                       EXHIBIT 1
       Case 4:22-cv-00073-O Document 20 Filed 11/07/22          Page 8 of 19 PageID 332

      Shaun Overton
             16,2022
      August 16, 2022
        Shaun
            un Overton
        August 16,
                16, 2022                                                    Page
                                                                            Page 152
                                                                                 152
 11                        UNITED STATES
                           UNITED        DISTRICT COURT
                                  STATES DISTRICT
 2
 2                          NORTHERN DISTRICT OF
                            NORTHERN DISTRICT OE TEXAS
                                                 TEXAS

 3
 3                              EORT WORTH
                                FORT       DIVISION
                                     WORTH DIVISION
 4
 4

 5
 5      ROI DEVELOPERS,
        ROI             INC. ,
            DEVELOPERS, INC.,               §s

 6
 6      d/b/ a ACCRUVIA,
        d/b/a  ACCRUVTA,                    §s
 '7
 7             Plainti ff,
               Plaintiff,                   §s

 8
 B                    V.
                      v.                         Civil Actlon
                                            §S Civil Action No.
                                                            No.
 9
 9             BITCOIN, INC.,
        ATHENA BITCOIN,
        ATHENA          INC. ,              §S 4:22-cv-00073-0
                                               4222-cv-00073-O
10
10      Defendant.
        Defendant.                          §s

11
11

12
1,2

13
13

14
14                           REPORTER' S CERTIFICATION
                             REPORTER'S

15
15                          DEPOSITION OE SHAUN
                            DEPOSITION OF SHAUN OVERTON

16
16                                                          August 76, 2022
                                                            August 16, 2022
71
17

1B
18                         I, Adam
                           I,      D, Miller,
                              Adam D.           Certified Shorthand
                                      MiJ-J-er, Certified Shorthand
19
19               Reporter in and
                 Reporter in     for the
                             and for the State
                                         State of
                                               of Texas,
                                                  Texas,
20
20                      certify to
                 hereby certify
                 hereby         to the
                                   the following:
                                       following:
2t
21                         That the witness,
                           That the                OVERTON, was
                                             SHAUN OVERTON,
                                    witness, SHAUN          was
22
22               duly sworn
                 duly       by the
                      sworn by the officer
                                   officer and that the
                                           and that the
11
23               transcript of
                 transcript of the
                               the oral
                                   oral deposition
                                        depositlon is
                                                   is aa true
                                                         true
24               record of
                 record of the
                           the testimony given by
                               testimony given by the
                                                  the
25
25               witness; that
                 witness; that the
                               the deposition
                                   deposition transcript
                                              transcript was
                                          GPS LLC
                              gpscalendar@gps.llc -- 214.347.4781
                              gpscalendar@gps.lic    21 4.347.4781
      GPS:
      GPS        U
                 -I
                 -I                       GPS LLC
                                               LLC
                             gpscalendar@gps.llc -- 214.347.4781
                             gpscalendar@gps.lic     21 4.347.47 81



                                         EXHIBIT 1
      Case 4:22-cv-00073-O Document 20 Filed 11/07/22      Page 9 of 19 PageID 333

      Shaun Overton
      August 16, 2022
             16,2022
         Shaun
         shaun Overton
               overton
         Augu4t
         Auoust 16,
                16. 2022                                               Page
                                                                       Page 153
                                                                            153
 11     sublmittbd on
        submitted      on August 23, 2022
                          August 23,      to the
                                     2022 to the witness
                                                 witness

 2
 2     or to
       or to the attorney for
             the attorney for the witness for
                              the witness for
 3
 3     examination, signature and
       examination, signature     return to
                              and return to me
                                            me by
                                               by
 4
 4               22, 2022;
       September 22,
       September           that the
                     2022; that the amount of time
                                    amount of time
 5
 5          by each
       used by
       used         party at
               each party at the
                             the deposition is as
                                 deposition is
 6
 6     follows:
       follows:

 7
 7

 8
 8           BY MR. FOWLER:
                MR. FOWLER:        2 HOURS,
                                   2        43 MINUTES
                                     HOURS, 43 MINUTES

 9
 9              MR. STEWART:
             BY MR. STEWART:        O HOURS,
                                    0        23 MINUTES
                                      HOURS, 23 MINUTES

10
10

11
11           that pursuant to
             that pursuant to information given to
                              information given to
12
1,2    the deposition
       the depositlon officer at the
                      officer at the time
                                     time said
                                          said
13
13     testimony was
       testimony was taken, the following
                     taken, the following includes
                                          includes
74
14             for all
       counsel for
       counsel          parties of
                   al-I parties of record:
                                   record:
15
15

16
16                 STEWART on behalf
             KELLY STEWART              plaintj-ff
                                     of plaintiff
                              behalf of
l7
17                 L. FOWLER,
             LARRY L.         JR. on
                      FOWLER, JR.    behaff of
                                  on behalf of
1B
18     de fendant
       defendant

T9
19

20
20           that $$
             that                       is the
                                        is the deposition
                                               deposition
27
21     officer's charges
       officer's         to the
                 charges to     Plaintiff for
                            the Plaintiff for
22
22                the original
       preparingr the
       preparing      original deposition
                               deposition transcript
                                          transcript
23
23     and any
       and            of exhibits;
               copies of
           any copies    exhibits;
24
zt4          I further
             I further certify
                       certify that
                               that II am neither
                                       am neither
25
25             for, related
       counsel for,
       counsel      related to,
                            to, nor
                                nor employed by any
                                    employed by any
                                     GPS LLC
                         gpscalendar@gps.llc -- 214.347.4781
                         gpscalendar@gps.lic
      GPS
      GPS:
              U

                                     GPS LLC
                                                21 4.347.4781


                        gpscalendar@gps.llc -- 214.347.4781
                        gpscalendar@gps.IIc     21 4.347.47 81


                                    EXHIBIT 1
      Case 4:22-cv-00073-O Document 20 Filed 11/07/22          Page 10 of 19 PageID 334

      Shaun Overton
               16,2022
      August 16,  2022
         Shaun
            aun Overton
                                                                            Page 154
                                                                            Page 154
        otAuqust
         AuglAst 16,
 11         the 16.2022
            -t_ne
                     2022
                   partres
                   parties    or attorneys
                              or attorneys in
                                           in the
                                              the action
                                                  action in
                                                         in
 z
 2     which this proceeding
        which this proceeding was     taken, and further
                              was taken, and further
 3
 3     that II am
       that        not financially
               am not   financially oror otherwise
                                         otherwise
 4
 4     interested in
       interested    in the
                        the outcome  of the
                             outcome of  the action.
                                             action.
 5
 5           Certified to
             Certified    to by
                             by me this 23rd
                                me this  23rd day
                                              day of
                                                   of
 6
 6     August,   2022.
        Awsust, 2022.
 7
 7                              r_k
                                  Adam D.
                                 Texas
                                       D    Mit  e r, CSR
                                            Mil er,
                                              No.
                                                       CSR
                                                     PCR-12075
                                         CSR No. PCR-12075
                                  Texas CSR
 8
 8                                 Expiration Date:
                                  Expiration Date:       09/30/24
                                                         09/30/24
                                   Firm Registration No.
                                  Firm Registration No. 1144611446
 9
 9                                GOUCHER             SPIVEY LLC
                                            PARKER SPIVEY
                                  GOUCHER PARKER             LLC
                                  9243 Dove
                                  9243 Dove Meadow
10
10                                Da11as, Texas
                                  Dallas,   Texas 75243
                                                     75243
                                  274.34'l .418L
                                  214.347.4781
1l-
11                                 www.gps.llc
                                  www.gps.11c

t2
12

13
13

L4
14

15
15

t6
16

l7
17

18
18

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19

20
20

2L
21

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23

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24

25

                                          GPS LLC
                              gpscalendar@gps.llc -- 214.347.4781
      GPS
      GPS:
                U             gpscalendar@gps.IIc
                                          GPS LLC
                                          GPS  LLC
                                                     214.347.47 81

                             gpscalendar@gps.llc -- 214.347.4781
                             gpscalendar@gps.IIc     21 4.347.4781

                                       EXHIBIT 1
Doe ex rel. Doe v. Dallas Independent School Dist., 220 F.3d 380 (2000)
       Case 4:22-cv-00073-O Document 20 Filed 11/07/22                           Page 11 of 19 PageID 335
146 Ed. Law Rep. 80




Fa   KeyCite Yellow Flag - Negative Treatment                      West Headnotes (5)
Declined to Extend by Cosey v. Kingdom, N.D.Miss.,   October 30,
2013
                                                                   [1]   Civil Rights       Education
                        220 F.3d 380                                     Title IX is enforceable through an implied private
               United States Court of Appeals,                           right of action. Education Amendments of 1972,
                        Fifth Circuit.
                                                                         § 901(a),      20 U.S.C.A. § 1681(a).
       DOE, Mrs., on behalf of John Doe, on behalf of
                                                                         4 Cases that cite this headnote
     Jack Doe, on behalf of James Doe; et al., Plaintiffs,
         John Doe; Joe Doe; Ms. Roe, as next friend
           of Jack Roe; Ms. Smith, as next friend                  [2]   Civil Rights    Sexual Harassment; Sexually
                                                                         Hostile Environment
           of James Smith, Plaintiffs–Appellants,
                              v.                                         School district officials may avoid Title IX
                                                                         liability for a teacher's sexual harassment of a
           DALLAS INDEPENDENT SCHOOL
                                                                         student under a deliberate indifference standard
              DISTRICT, et al., Defendant,
                                                                         by responding reasonably to a risk of harm, even
 Dallas Independent School District, Defendant–Appellee.
                                                                         if the harm ultimately was not averted. Education
                         No. 99–10612.                                   Amendments of 1972, § 901(a),          20 U.S.C.A.
                                |                                        § 1681(a).
                         July 24, 2000.
                                                                         71 Cases that cite this headnote
Synopsis
State court action was brought against school district and
                                                                   [3]   Civil Rights       Sex Discrimination
principal on behalf of minor students who were allegedly
sexually molested by teacher. After removal, the United                  Determining what constitutes appropriate
States District Court for the Northern District of Texas, A.             remedial action for allegations of discrimination
Joe Fish, J., dismissed Title IX claim and granted summary               in Title IX cases necessarily depends on
judgment for defendants on § 1983 claim. Students appealed.              the particular facts of the case. Education

The Court of Appeals,         153 F.3d 211, affirmed in part,            Amendments of 1972, § 901(a),          20 U.S.C.A.
reversed in part, and remanded for consideration of the Title            § 1681(a).
IX claim. On remand, the District Court granted summary
                                                                         12 Cases that cite this headnote
judgment in favor of the defendants on the Title IX claim,
and students appealed. The Court of Appeals, King, Circuit
Judge, held that principal's response to allegation that male      [4]   Federal Civil Procedure           Sufficiency of
teacher sexually molested male student did not amounted to               Showing
deliberate indifference, and therefore school district could not         Nonmoving party could not manufacture a
be held liable under Title IX for further alleged acts of sexual         genuine issue of material fact to defeat a
harassment of students.                                                  motion for summary judgment by submitting an
                                                                         affidavit that impeached prior testimony without
Affirmed.                                                                explanation.

Procedural Posture(s): On Appeal; Motion for Summary                     211 Cases that cite this headnote
Judgment.
                                                                   [5]   Civil Rights       Discrimination Against Males
                                                                         School principal's response to allegation that
                                                                         male teacher sexually molested male student



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        did not amounted to deliberate indifference, and        counts of indecency with a child. McGrew was sentenced to
        therefore school district could not be held liable      one life sentence and two twenty-year sentences.
        under Title IX for further alleged acts of sexual
        harassment of students; principal interviewed           After McGrew's criminal conviction, a number of his victims
        student and his mother, spoke with teacher and          brought this action against the Dallas Independent School
        warned him either that he would be “dealt               District (“DISD”), John Earl McGrew, the Boy Scouts of
        with” if the accusations were founded or that           America, Circle Ten Council, Inc. Boy Scouts of America,
        he should avoid acting in a way that could              J.J. Rhoades, Linus Wright, Marvin Edwards, and Barbara
        be misconstrued, and although she erroneously           Patrick. 1 Mrs. Doe on behalf of John Doe, Joe Doe, Jack Doe,
        concluded that student's allegation was not true,
                                                                and James Doe 2 originally filed the case in state court. The
        her actions, though ineffective in preventing
                                                                case was subsequently removed to the United States District
        teacher from sexually abusing students, were
                                                                Court for the Northern District of Texas. The complaint
        an inadequate response to student's allegation.
        Education Amendments of 1972, § 901(a),    RI20         alleged claims under    FLI42 U.S.C. § 1983, Title IX of the
        U.S.C.A. § 1681(a).                                     Education Amendments of 1972, see            20 U.S.C. § 1681,
                                                                and Texas tort law. The plaintiffs in this action later amended
        42 Cases that cite this headnote                        their complaint to add a claim under the Constitution of the
                                                                state of Texas.

                                                                The district court dismissed the plaintiffs' Title IX claim
Attorneys and Law Firms                                         because it concluded that same-sex sexual harassment was not
                                                                actionable under Title IX. The district court also dismissed
*381 Hal K. Gillespie (argued), Gillespie, Rozen & Watsky,      the plaintiffs' claims brought under Texas tort law and claims
Dallas, TX, for Plaintiffs–Appellants.                          for damages under the Texas Constitution, leaving only the

Dennis J. Eichelbaum (argued), Schwartz & Eichelbaum,           P§ 1983 claim intact. On November 24, 1995, a second
Plano, TX, for Defendant–Appellee.                              lawsuit was filed in federal district court by other minor
                                                                 *382 victims of McGrew. This second lawsuit, brought by
Appeal from the United States District Court for the Northern   or on behalf of Plaintiffs–Appellants Bob Black, Bill Black,
District of Texas.                                              William White, and George Green, alleged the same facts and
                                                                asserted identical claims as that brought by the Does, Ms. Roe,
Before KING, Chief Judge, and GARWOOD and DeMOSS,
                                                                and Ms. Smith. On February 20, 1996, it was consolidated
Circuit Judges.
                                                                with the first-filed action. 3
Opinion
                                                                On July 30, 1996, defendants DISD and Barbara Patrick,
KING, Chief Judge:                                              who was the principal of J.J. Rhoades at the time of the
                                                                alleged abuse (collectively, “Defendants”), filed a motion for
Plaintiffs–Appellants appeal the district court's grant of
summary judgment in favor of Defendant–Appellee Dallas          summary judgment on Plaintiffs' remaining § 1983 claims,
Independent School District on their claims brought under       arguing that (1) no grounds existed upon which DISD could
Title IX of the Education Amendments of 1972. We affirm.        be held liable for McGrew's misconduct, and (2) Patrick
                                                                was entitled to qualified immunity. On October 29, 1996,
                                                                the district court granted summary judgment in favor of

      I. FACTUAL AND PROCEDURAL HISTORY                         Defendants on all of Plaintiffs'    § 1983 claims. The court
                                                                entered a final judgment on all claims in favor of Defendants
John Earl McGrew, a third-grade teacher and Boy Scout           on March 5, 1997. Plaintiffs timely appealed to this court.
troop leader at Joseph J. Rhoades Elementary School
(“J.J. Rhoades”), sexually molested numerous male students      We affirmed the district court's grant of summary judgment.
between 1983 and 1987. He was subsequently convicted in
state court on one count of aggravated sexual assault and two   See   FiDoe v. Dallas Indep. Sch. Dist., 153 F.3d 211 (5th

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Cir.1998) (“Doe I ”). This court held that DISD neither            1999 deposition of Robert *383 Johnston, Special Assistant
delegated to school principals the authority to create policies    to the Superintendent for Administration of DISD.
to address allegations of sexual abuse nor acted with
deliberate indifference towards its students' constitutional       The district court granted DISD's motion on April 20, 1999. In
rights by failing to adopt an official policy to protect against   its memorandum decision, the district court assumed without
                                                                   deciding that Patrick was the appropriate person to be notified
the sexual abuse of students. See  P Doe I, 153 F.3d at 216–
                                                                   in order for DISD to be liable under Title IX. The court then
17. We also affirmed the district court's determination that
                                                                   discounted D.D.P.'s 1999 affidavit as a subsequent affidavit
Patrick was entitled to qualified immunity because although
                                                                   contradicting prior testimony without explanation, and held
she had notice of the abuse as of the spring of 1986, 4 she        that Plaintiffs had offered insufficient evidence to create a
did not act with deliberate indifference. See   ra
                                                id. at 218–        genuine issue of material fact as to whether Patrick had actual
19. With respect to Plaintiffs' Title IX claim, we decided         notice of McGrew's misconduct in 1984. Furthermore, the
                                                                   court found that there was no evidence that any of the DISD
that pursuant to the Supreme Court's decision in  P  Oncale v.
                                                                   officials and staff members who had allegedly been told of
Sundowner Offshore Servs., Inc., 523 U.S. 75, 118 S.Ct. 998,
                                                                   abuse prior to 1986 had communicated this information to
140 L.Ed.2d 201 (1998), the Plaintiffs' complaint had stated
                                                                   Patrick. Finally, the court, citing our finding for the purposes
a valid Title IX claim against DISD. See id. at 219. However,
because we determined that there was insufficient evidence         of Fa § 1983 in Doe I, held that Patrick's actions in response to
in the record to permit an adjudication on the merits of that      the 1986 report of abuse did not rise to the level of deliberate
claim, we remanded the case to the district court for further      indifference. On the same day, the district court entered a final
proceedings. See id. at 219–220. In so doing, we noted in dicta    judgment in favor of DISD and awarded it costs. Plaintiffs
that                                                               timely appeal.


  we in no way intend to suggest that summary judgment
  would be inappropriate if Defendants are able to                                        II. DISCUSSION

  demonstrate, as they did with respect to Plaintiffs'     ri §    Plaintiffs argue on appeal that the district court improperly
  1983 claims, that no genuine issue of material fact exists       disregarded a 1999 affidavit, and incorrectly concluded that
  with respect to Plaintiffs' Title IX claim. Indeed, given the    Plaintiffs' evidence failed to create a genuine issue of material
  factual development that took place in this case with respect    fact as to Patrick's deliberate indifference. We disagree.

   to theP    § 1983 claims against DISD and Patrick, we can
   say that if Plaintiffs can produce no additional evidence,
   Defendants will be entitled to summary judgment on the                              A. Standard of Review
   Title IX claim.
   See id. at 220 n. 8.                                            We review the grant of summary judgment de novo, applying
On September 30, 1998, DISD filed a motion for summary             the same criteria employed by the district court in the first
judgment on Plaintiffs' Title IX claim. DISD argued that it        instance. See Norman v. Apache Corp., 19 F.3d 1017, 1021
could not be held liable under Title IX because Patrick was        (5th Cir.1994). To prevail on summary judgment, a movant
not a supervisory official, did not have actual notice of abuse,   must demonstrate that “the pleadings, depositions, answers
and did not act with deliberate indifference. In response,         to interrogatories, and admissions on file, together with the
Plaintiffs contended that Patrick was a supervisory official       affidavits, if any, show that there is no genuine issue as to
with the power to stop the abuse, had actual notice of abuse       any material fact and that the moving party is entitled to a
both in 1984 and in 1986, and responded with deliberate            judgment as a matter of law.” FED. R. CIV. P. 56(c); see
indifference in both instances. In support of their opposition,
                                                                   also     Celotex Corp. v. Catrett, 477 U.S. 317, 327, 106
Plaintiffs submitted evidence that had been submitted for
                                                                   S.Ct. 2548, 91 L.Ed.2d 265 (1986). If the movant succeeds
the previous summary judgment motion and new evidence
                                                                   in making that showing, the nonmoving party must set forth
in the form of (1) a 1999 affidavit from D.D.P., a plaintiff;
                                                                   specific facts showing a genuine issue for trial and not rest
(2) a 1999 deposition by Bettye Burrell, Patrick's former
                                                                   upon the allegations or denials contained in its pleadings.
secretary; (3) a 1999 affidavit by John McGrew; and (4) a



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                                                                                 discrimination in the recipient's
See FED. R. CIV. P. 56(e);      Anderson v. Liberty Lobby,
                                                                                 programs and fails adequately to
Inc., 477 U.S. 242, 256–57, 106 S.Ct. 2505, 91 L.Ed.2d
                                                                                 respond.
202 (1986). We review the evidence, and the inferences to
be drawn therefrom, in the light most favorable to the non-
moving party. See     Lemelle v. Universal Mfg. Corp., 18
F.3d 1268, 1272 (5th Cir.1993).                                     10 524 U.S. at 290, 118 S.Ct. 1989. The Supreme Court
                                                                    further decided in Gebser that “the response must amount to
                                                                    deliberate indifference to discrimination” for the      school
                          B. Title IX                               district to be liable in damages. Gebser, 524 U.S. at 290, 118
                                                                    S.Ct. 1989. As this court noted in Doe I, “[t]he deliberate
 [1] Title IX provides, in pertinent part, that “[n]o person ...
                                                                    indifference standard is a high one.”    Doe I, 153 F.3d at
shall, on the basis of sex, be excluded from participation in, be
                                                                    219 (applying deliberate indifference standard for purposes
denied the benefits of, or be subjected to discrimination under
any education program or activity receiving Federal financial       of    § 1983 qualified immunity analysis). Officials may
                                                                    avoid liability under a deliberate indifference standard by
assistance....”  20 U.S.C. § 1681(a). Although the statute
                                                                    responding reasonably to a risk of harm, “even if the harm
provides for administrative enforcement of this mandate, the
Supreme Court has held that Title IX is also enforceable            ultimately was not averted.” Farmer v. Brennan, 511 U.S.
                                                                    825, 844, 114 S.Ct. 1970, 128 L.Ed.2d 811 (1994); see
through an implied private right of action. See Cannon v.
Univ. of Chicago, 441 U.S. 677, 99 S.Ct. 1946, 60 L.Ed.2d           also Davis v.       Monroe County Bd. of Educ., 526 U.S.
                                                                    629, 648, 119 S.Ct. 1661, 143 L.Ed.2d 839 (1999) (defining
560 (1979). In  Franklin v. Gwinnett County Public Sch.,
                                                                    deliberate indifference for purposes of finding school district
503 U.S. 60, 112 S.Ct. 1028, 117 L.Ed.2d 208 (1992),
                                                                    liability under Title IX for student-to-student harassment as
the Supreme Court subsequently established that monetary
                                                                    when the “response to the harassment or lack thereof is
damages are available in such an action. See      503 U.S.          clearly unreasonable in light of the known circumstances”).
60, 112 S.Ct. 1028, 117 L.Ed.2d 208. Franklin further stated        Moreover, determining what constitutes appropriate remedial
that sexual harassment of a student by a teacher constitutes        action for allegations of discrimination in Title IX cases “
actionable discrimination for the purposes of Title IX. See         ‘will necessarily depend on the particular facts of the case....’
   id. at 75, 112 S.Ct. 1028.                                       ”    Rosa H. v. San Elizario Independent School Dist., 106
                                                                F.3d 648, 660–61 (5th Cir.1997) (quoting           Waltman v.
 [2] [3] In     Fl  Gebser v. Lago Vista Indep. Sch. Dist., 524 Int'l Paper Co., 875 F.2d 468, 479 (5th Cir.1990) (Title VII
U.S. 274, 280, 118 S.Ct. 1989, 141 L.Ed.2d 277 (1998), the      decision)).
Supreme Court set forth the standard under which a school
district may be held liable for damages under Title IX for a    Thus, to defeat Defendants' motion for summary judgment,
teacher's sexual *384 harassment of a student. The Court        Plaintiffs must adduce evidence sufficient to create a genuine
held that                                                       issue of material fact that Patrick (1) had authority to
                                                                address the alleged abuse by McGrew and to institute
                                                                corrective measures on DISD's behalf, (2) had actual notice
             in cases like this one that do not                 of discrimination, and (3) acted with deliberate indifference.
             involve official policy of the recipient           We agree with the district court that Plaintiffs have failed to
             entity, ... a damages remedy [against              create a genuine issue of material fact either with regard to
             the school district] will not lie under            Patrick's actual notice in late 1984 or with regard to whether
             Title IX unless an official who at a               Patrick's actions in response to the 1986 report amounted to
             minimum has authority to address the               deliberate indifference.
             alleged discrimination and to institute
             corrective measures on the recipient's
             behalf has actual knowledge of



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                                                                      In support of the contention that Patrick had notice in 1984,

  1. Supervisory Official with the Power to End the Abuse            IPlaintiffs submitted “new” evidence in the form of an affidavit
                                                                      by D.D.P., 5 dated January 23, 1999 (“1999 affidavit”). 6
As the district court noted, neither the Supreme Court               IThe 1999 affidavit is D.D.P.'s third recounting under oath
nor this court has decided which individuals must have               Iof McGrew's abuse and the events that followed. In January
known of allegations of sexual abuse in order to support              1988, D.D.P. swore out an affidavit before a Dallas police
a finding that the school district had actual notice of               officer (“1988 affidavit”). He stated that in late November
                                                                      1984, McGrew touched his genitals in the lunchroom. D.D.P.
discrimination. See  P   Rosa H., 106 F.3d at 660 (limiting
                                                                      further stated that after this occurred, he “went down to the
liability to cases in which “those school employees in the
                                                                      office and told Ms. Patrick and Mr. Beckham about what
chain of command whom the school board has appointed
                                                                      happened.”
to ... remedy the wrongdoing themselves” had actual notice,
without naming specific individuals). We agree with the
                                                                     D.D.P. was subsequently deposed in 1996. In his deposition,
district court that it is unnecessary to determine whether
                                                                     D.D.P. stated that McGrew had touched his genitals in the
Patrick, as the principal of J.J. Rhoades, had the authority
                                                                     lunchroom, and that McGrew had also abused him several
to take corrective action to end McGrew's abuse of students
                                                                     times in McGrew's classroom. He further stated that he told
under DISD policies during the relevant period. Instead, we
                                                                     the administrative staff in Patrick's office of McGrew's act,
assume without deciding that Patrick was an official with the
                                                                     but that Patrick was actually in her office, talking on the
power to remedy discrimination on behalf of DISD for the
                                                                     phone, at the time. When asked, “You never actually had a
purposes of determining whether Patrick had actual notice of
                                                                     conversation with Ms. Patrick about what Mr. McGrew did to
discrimination and acted with deliberate indifference. We now
                                                                     you, did you?” D.D.P. answered, “No.” D.D.P. also stated that
turn to that inquiry.
                                                                     he never put his accusations in writing.

                                                                      [4] The 1999 affidavit asserts that D.D.P.'s 1988 affidavit, in
                        2. Actual Notice                             which he stated that he told Patrick that McGrew had abused
                                                                     him, is accurate; and that D.D.P.'s 1996 deposition, in which
Whether an official had actual notice is a question of fact.
                                                                     he stated that he told the people in Patrick's office but not
See P    Farmer, 511 U.S. at 842, 114 S.Ct. 1970. Thus, the          Patrick herself that McGrew had abused him, 7 is not. In the
question of whether Patrick had actual notice may be resolved        1999 affidavit, D.D.P. states that the incident was fresh in
as a matter of law where, as here, the facts are not in dispute.     his memory in 1988, and that he gave a truthful statement
See *385 Olabisiomotosho v. City of Houston, 185 F.3d                at that time. D.D.P. then explains that after the incident with
521, 527–28 (5th Cir.1999) (finding no genuine issue of              McGrew, D.D.P. “tried hard over the years not to think about it
material fact as to actual notice). Plaintiffs contended before      and put it out of my head,” and therefore that by 1996, he “did
the district court that Patrick had actual notice that McGrew        not have enough memory of what really happened to allow
was abusing male students (1) in late 1984, when D.D.P.,             [him] to testify fully and accurately about what Mr. McGrew
a plaintiff in this action, reported to her that McGrew had          did or *386 [his] report of what [McGrew] did.” D.D.P.
touched his genitals in the lunchroom and had touched him            further asserts in the 1999 affidavit that he was not shown his
on several occasions in McGrew's classroom, and (2) in the           1988 affidavit during his deposition, and that he was not asked
spring of 1986, when J.H. reported that McGrew had fondled           during his deposition why his testimony had changed between
him while he was bringing McGrew a note from another                 1988 and 1996. The affidavit concludes that, as a result, the
teacher. The district court found that Plaintiffs failed to create   1988 affidavit, not the 1996 deposition, is an accurate account
a fact issue as to whether Patrick had actual notice in 1984, but    of his communication with school personnel.
concluded that Patrick had notice in 1986. Plaintiffs appeal
the first finding, and DISD complains of the second. We              The district court ruled that the 1999 affidavit contradicted
address each finding in turn.                                        the 1996 deposition testimony, and cited authority from
                                                                     our circuit holding that a plaintiff may not manufacture a
                                                                     genuine issue of material fact by submitting an affidavit
                            a. 1984                                  that impeaches prior testimony without explanation. This
                                                                     authority stands for the proposition that a nonmoving party


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may not manufacture a dispute of fact merely to defeat a          appropriate when attorney only asked one question on subject
                                                                  at deposition and thus affidavit supplemented deposition
1motion for summary judgment. See Pi S.W.S. Erectors, Inc.        testimony). Furthermore, in his 1996 deposition, D.D.P.
v. Infax, Inc., 72 F.3d 489, 495 (5th Cir.1996) (citations
                                                                  responded to certain questions by stating that he could not
         Fa
omitted); Thurman v. Sears, Roebuck & Co., 952 F.2d 128,          answer because he did not recall what had happened. Thus, he
136 n. 23 (5th Cir.), cert. denied, 506 U.S. 845, 113 S.Ct.       knew that if he did not remember whether *387 a particular
136, 121 L.Ed.2d 89 (1992) (citations omitted);     Albertson     event had occurred or the details of how that event occurred,
v. T.J. Stevenson & Co., Inc., 749 F.2d 223, 228, 233 n. 9 (5th   he could say, “I do not recall” in response to a question
Cir.1984). As some of our sister circuits have observed,          regarding that event during his deposition. However, he failed
                                                                  to do so when asked whether he directly told Patrick about
                                                                  the abuse. Although we sympathize with D.D.P.'s desire to
                                                                  eradicate the painful memory of the abuse, we cannot say that
             If a party who has been examined at
                                                                  D.D.P.'s assertions in a 1999 affidavit that he succeeded in
             length on deposition could raise an
                                                                  doing so by 1996 create an issue of fact as to whether he told
             issue of fact simply by submitting an
                                                                  Patrick that McGrew had abused him in 1984. Thus, in the
             affidavit contradicting his own prior
                                                                  absence of a dispute of fact, the district court correctly held as
             testimony, this would greatly diminish
                                                                  a matter of law that Patrick did not have actual notice in 1984.
             the utility of summary judgment as
             a procedure for screening out sham
             issues of fact.
                                                                                              b. 1986

                                                                  The undisputed summary judgment evidence demonstrates
PsPerma Research and Dev. Co. v. Singer Co., 410 F.2d 572,        that in the spring of 1986, 9 Sandra Thomas reported to
578 (2d Cir.1969) (citations omitted); see also      Camfield     Claude Bandy, the parent ombudsman for J.J. Rhoades, that
Tires, Inc. v. Michelin Tire Corp., 719 F.2d 1361, 1365–66        her son J.H. claimed that McGrew had fondled him. The
(8th Cir.1983) (stating that courts should scrutinize conflicts   evidence further shows that Bandy informed Patrick of J.H.'s
between affidavit and deposition testimony and only grant         allegation, and that Thomas spoke to Patrick by telephone.
summary judgment when those conflicts raise only sham             After speaking to his mother on the phone, Patrick called
                                                                  J.H. down to her office and asked him to describe to her
issues);Fa Radobenko v. Automated Equip. Corp., 520 F.2d
                                                                  what happened. He reported that his teacher had sent him
540, 544 (9th Cir.1975) (quoting Perma Research ).
                                                                  into McGrew's classroom with a note, and that McGrew had
                                                                  touched him “in his private place” while he was standing at
Plaintiffs argue on appeal that the district court erred in
                                                                  McGrew's desk. Thomas came to J.J. Rhoades the next day
disregarding this 1999 affidavit and the 1988 affidavit that it
                                                                  to meet with Patrick and McGrew. Prior to the meeting with
endorses. They contend that the 1999 affidavit explained why
                                                                  McGrew, Patrick spoke to Thomas and J.H.
the 1996 deposition testimony differed from the version of
events contained in the 1988 affidavit, and thus that the rule
                                                                  Based on this undisputed evidence, the district court
should not have been applied. 8 We disagree.                      concluded that Patrick had actual notice of an allegation of
                                                                  sexual abuse in spring 1986. In its Brief of Appellee, DISD
Instead, we are convinced that the explanation offered by         argues that knowledge of a mere allegation of abuse does not
the 1999 affidavit was insufficient to create a genuine issue     constitute actual knowledge that a student is being abused.
of material fact on the issue of whether D.D.P. directly told     DISD also contends that “[a]n allegation that is investigated
Patrick of the abuse by McGrew. There is no allegation that       and determined to be untrue should not form the basis of
D.D.P. was not represented by counsel at the 1996 deposition;     actual knowledge even if that determination is tragically
he was thoroughly questioned about his communications with        flawed.” We decline to address these arguments because the
school personnel; and the testimony was unequivocal. Cf.          facts of this case do not require us to decide whether Patrick
F:1Clark v. Resistoflex Co., A Div. of Unidynamics Corp.,         had actual notice of discrimination. Instead, we assume
854 F.2d 762, 766–67 (5th Cir.1988) (summary judgment             arguendo that she did, and proceed to the question of whether
based on fact issue raised by subsequent affidavit was


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Patrick's actions in response to J.H.'s 1986 allegation of sexual   the parent and discuss it.” McGrew also described Patrick's
abuse by McGrew amounted to deliberate indifference.                demeanor towards him as “supportive.” Finally, Plaintiffs
                                                                    submitted the deposition testimony of Robert L. Johnston,
                                                                    Special Assistant to the Superintendent for Administration of
                                                                    DISD, who testified that he found no documents referring
                  3. Deliberate Indifference
                                                                    to McGrew or Plaintiffs in the context of sexual abuse
 [5] Whether an official's response to actual knowledge of          allegations in files kept at J.J. Rhoades. From this, Plaintiffs
discrimination amounted to deliberate indifference likewise         would have us infer that Patrick intentionally failed to
may appropriately be determined on summary judgment. See            document J.H.'s allegation so that the report would be easier
                                                                    to cover up.
   Davis, 526 U.S. at 649, 119 S.Ct. 1661; Doe I, 153 F.3d
at 219 (deciding on summary judgment that school officials
                                                                    Plaintiffs also contend that Patrick was deliberately
were entitled to qualified immunity because they did not
                                                                    indifferent because she failed to perform certain actions
act with deliberate indifference). As discussed above, the
                                                                    pursuant to her investigation of J.H.'s allegation. In particular,
undisputed summary judgment evidence demonstrates that
                                                                    Plaintiffs point to the fact that Patrick failed to report J.H.'s
Patrick spoke to Sandra Thomas on the phone, and told her
                                                                    allegation to Child Protective Services, failed to tell McGrew
to come to school for a meeting with Patrick and McGrew.
                                                                    not to spank a child again, failed to monitor McGrew further
When Thomas and J.H. arrived at school, Patrick spoke to
                                                                    or make him attend additional training, and failed, in fact, to
both of them. At some point, Patrick also asked J.H. to repeat
                                                                    ever raise the issue of sexual abuse with him again until his
his accusation to McGrew. During the meeting, Patrick and
                                                                    arrest. Thus, Plaintiffs argue, they have presented sufficient
Thomas both asked McGrew directly if he had fondled J.H.,
                                                                    evidence of deliberate indifference to preclude a grant of
and he denied it. 10 At *388 the close of the meeting, Patrick      summary judgment in favor of DISD.
told Thomas that she would make sure that J.H. was not sent
to McGrew's classroom again. Once Thomas had left, Patrick          However, even drawing all reasonable inferences in favor of
told McGrew that the accusation was very serious, and led           Plaintiffs, we must agree with the district court that Plaintiffs
him to understand that he should not repeat the behavior that       have failed to create a genuine issue of material fact. Patrick
made the child accuse him of abuse. McGrew remembers this           interviewed J.H., spoke with his mother, spoke with J.H.'s
warning somewhat differently: “She told me the school does          teacher, spoke with McGrew and warned him either that he
not put up with the kind of behavior I had been accused of and      would be “dealt with” if the accusations were founded or that
that if it really did take place, I would be dealt with.” Patrick   he should avoid acting in a way that could be misconstrued.
also spoke to J.H.'s teacher, who confirmed that she had sent       She concluded, in error, that J.H.'s allegation was not true, and
him to McGrew's classroom with a note, and who stated that          her erroneous conclusion had tragic consequences. However,
J.H. had not mentioned any misconduct by McGrew to her              we cannot say on the facts before us that these actions, though
when he returned to her classroom.                                  ineffective in preventing McGrew from sexually abusing
                                                                    students, were an inadequate response to J.H.'s allegation.
Plaintiffs argue that the evidence demonstrates that Patrick's
                                                                    See      Doe I, 153 F.3d at 219 (“We can foresee many good
investigation was a sham, and that, in fact, she desired
                                                                    faith but ineffective responses that might satisfy a school
to cover up J.H.'s allegation of sexual abuse in order to
                                                                    official's obligation in these situations, e.g., warning the state
protect J.J. Rhoades' reputation. In support of that argument,
                                                                    actor, notifying the student's parents, or removing the student
Plaintiffs point to evidence that Patrick asked another student,
W.J.H., during the 1983–84 school year whether McGrew had           from the teacher's class.”) (quoting    Doe v. Taylor Indep.
touched him inappropriately. In addition, Plaintiffs submitted      Sch. Dist., 15 F.3d 443, 456 n. 12 (5th Cir.) (en banc), cert.
evidence that Patrick informed Thomas that McGrew was               denied sub nom. Lankford v. Doe, 513 U.S. 815, 115 S.Ct. 70,
a good teacher and that Patrick knew J.H. was lying; that
                                                                    130 L.Ed.2d 25 (1994)); cf. Davis,       526 U.S. at 648, 119
Patrick asked Thomas to not discuss J.H.'s accusations with
                                                                    S.Ct. 1661 (refusing to hold that *389 “administrators must
any other teachers or parents; and that Patrick acted “nasty”
                                                                    engage in particular disciplinary action” to avoid liability). As
towards Thomas. Other evidence indicated that Patrick told
                                                                    a result, we conclude that the district court correctly granted
McGrew, prior to the meeting with Thomas, “McGrew, I
                                                                    summary judgment in favor of DISD.
don't think [the accusation is] true, but we have to meet with



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                    III. CONCLUSION
                                                                 All Citations
For the foregoing reasons, we AFFIRM the district court's
judgment.                                                        220 F.3d 380, 146 Ed. Law Rep. 80




                                                        Footnotes


1       J.J. Rhoades was not named as a defendant as of Plaintiffs' First Amended Complaint, filed on March 2,
        1994. Plaintiffs stipulated to the dismissal with prejudice of Marvin Edwards and Linus Wright as defendants
        on July 26, 1996. Plaintiffs entered into an agreed order dismissing with prejudice all claims against the Boy
        Scouts of America and Circle Ten Council, Inc. Boy Scouts of America on October 11, 1996.

2       The names of the minor victims were changed to protect their identities for the purposes of filing this action.
        The initials of the boys' actual names are used to identify them in depositions and affidavits.

3       We will refer collectively to the plaintiffs from both lawsuits as “Plaintiffs.”

4       We based this conclusion on undisputed evidence that J.H., a second-grade student at the time, told Patrick
        that McGrew had fondled him in the spring of 1986.

5       D.D.P. is now twenty-two years old, and swore out the 1999 affidavit using his full name. For the sake of
        consistency, however, we will continue to refer to him as D.D.P.

6       Plaintiffs also submitted the 1999 deposition of Bettye Burrell, Patrick's former secretary. Burrell testified that
        Patrick generally left her door open, and that Burrell was located about six feet from Patrick's office. Plaintiffs
        introduced this evidence in conjunction with D.D.P.'s 1996 deposition testimony stating that he told Patrick's
        office staff that McGrew had abused him, and that he could see Patrick talking on the phone in her office
        because her door was open at the time. Plaintiffs maintained before the district court that the sum of this
        evidence demonstrated that D.D.P. could have rationally believed that Patrick heard him when he reported
        the abuse to Patrick's office staff. The district court concluded that this evidence was speculative and thus
        insufficient to create a genuine issue of material fact. Plaintiffs do not explicitly challenge this conclusion
        on appeal, but argue that Burrell's deposition, along with McGrew's 1999 affidavit and Johnston's 1999
        deposition, constitutes “powerful additional evidence” supporting a denial of summary judgment.

7       The district court concluded that there was no evidence that the office staff, or any other school personnel,
        communicated allegations of abuse by McGrew to Patrick. Plaintiffs do not challenge this conclusion on
        appeal.

8       Plaintiffs also argue that the application of the rule subverts Federal Rule of Evidence 803(5). See
        FED.R.EVID. 803(5) (creating a hearsay exception for recorded recollections, defined as “[a] memorandum
        or record concerning a matter about which a witness once had knowledge but now has insufficient recollection
        to enable the witness to testify fully and accurately, shown to have been made or adopted by the witness when
        the matter was fresh in the witness' memory and to reflect that knowledge correctly.”). We are unpersuaded
        by this argument. Rule 803(5) pertains to the admissibility of recorded recollections, and the admissibility of
        the 1988 affidavit has not been disputed. Plaintiffs cite no authority for the proposition that Rule 803(5) is
        frustrated when a court declines to consider contradictory evidence contained in a recorded recollection in
        the form of an affidavit, and our research has likewise uncovered none.




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9       The district court noted that Patrick testified at McGrew's trial that J.H's complaint was brought in 1986, but
        testified at her deposition for this action that the complaint was brought in 1987. Like the district court, we
        assume for the purposes of this discussion that the incident occurred in 1986.

10      Patrick testified that McGrew denied the allegation and offered no explanation for why the report might have
        been made. McGrew stated in his 1999 affidavit that he told Thomas and Patrick that he had not “touched”
        J.H., but had spanked him, and that J.H. was “mad” because of the spanking. We think that these slightly
        different versions do not create an issue of fact as to deliberate indifference.



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